
2006 ND 4
In the Matter of the Judicial Vacancy in District Judgeship No. 1, with Chambers in Bismarck, North Dakota, South Central Judicial District.
No. 20060004
Supreme Court of North Dakota.
Decided January 27, 2006
PER CURIAM.
[¶1] On January 5, 2006, Governor John Hoeven officially notified the Supreme Court that the Honorable Burt L. Riskedahl, Judge of the District Court, with chambers in Bismarck, South Central Judicial District, is retiring on March 31, 2006. Judge Riskedahl's impending retirement will create a vacancy under Section 27-05-02.1, N.D.C.C.
[¶2] Under Section 27-05-02.1, N.D.C.C., this Court is required to review vacancies that occur and determine, within 90 days of receiving notice of a vacancy, whether the office is necessary for effective judicial administration. This Court may, consistent with that determination, order the vacancy filled or order the vacant office transferred to a judicial district in which an additional judge is necessary, to be filled in that district.
[¶3] Under N.D. Sup. Ct. Admin. R. 7.2, notice of a written consultation with the attorneys and judges of the South Central Judicial District was posted January 13, 2006, on the website of the Supreme Court. Notice was also electronically provided to all presiding judges of the state. Written comments on the vacancy were permitted through January 24, 2006. For purposes of the consultation provided for under Section 27-05-02.1, N.D.C.C., this procedure is sufficient for determining the disposition of this vacancy.
[¶4] A Report containing population and caseload trends, and other criteria identified in N.D. Sup. Ct. Admin. R. 7.2, Section 4, was filed January 23, 2006, by the South Central Judicial District.
[¶5] Under the criteria of Section 4 of N.D. Sup. Ct. Admin. R. 7.2, the Court has considered all submissions received by the Court and its own administrative records on state-wide weighted caseload data.
[¶6] This Court determines that the office is necessary for effective judicial administration in its present location.
[¶7] IT IS HEREBY ORDERED, that Judgeship No. 1 at Bismarck in the South Central Judicial District be filled in the manner provided in N.D.C.C. Chapter 27-25.
[¶8] Gerald W. VandeWalle, C.J.
Dale V. Sandstrom
Mary Muehlen Maring
Carol Ronning Kapsner
Daniel J. Crothers
